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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,                 )
 8                                              )    No. CR-07-081-FVS-6
                        Plaintiff,              )
 9                                              )    ORDER GRANTING DEFENDANT'S
      v.                                        )    MOTION FOR RELEASE
10                                              )
      RICHARD J. OLSON,                         )
11                                              )
                        Defendant.              )
12                                              )

13         At the September 24, 2007, hearing on Defendant's Motion for

14   release pending sentencing, counsel Karen Lindholdt appeared with

15   Defendant; Assistant U.S. Attorney Stephanie J. Lister represented

16   the United States.

17         The court, having considered the proffers of Defendant and

18   Plaintiff, finds there is new information for the court to consider

19   which would alter the findings in the Order filed August 28, 2007.

20   There is a probability he has served as much time as he will be

21   sentenced.     A plea agreement has been entered.             Accordingly,

22         IT IS ORDERED the Defendant’s Motion (Ct. Rec. 329) is GRANTED.

23   Defendant shall be released on the following conditions:

24         1.    Defendant shall not commit any offense in violation of

25   federal, state or local law. Defendant shall advise his supervising

26   Pretrial Services Officer and his attorney within one business day

27   of any charge, arrest, or contact with law enforcement.

28         2.    Defendant shall advise the court and the United States


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 1   Attorney in writing before any change in address.
 2         3.    Defendant shall appear at all proceedings and surrender as
 3   directed for service of any sentence imposed.
 4         4.    Defendant shall sign and complete form A.O. 199C before
 5   being released and shall reside at the address furnished.
 6         5.    Defendant     shall   remain     in    the     Eastern   District     of
 7   Washington while the case is pending.             On a showing of necessity,
 8   Defendant may obtain prior written permission to leave this area
 9   from the United States Probation Office.                 Defendant shall have a
10   curfew of 7:00 p.m. to 6:00 a.m.
11         6.    Defendant     shall    maintain       or     actively    seek   lawful
12   employment.
13         7.    Defendant shall not possess a firearm, destructive device
14   or other dangerous weapon.
15         8.    Defendant is further advised, pursuant to 18 U.S.C. §
16   922(n), it is unlawful for any person who is under indictment for a
17   crime punishable by imprisonment for a term exceeding one year, to
18   possess, ship or transport in interstate or foreign commerce any
19   firearm or ammunition or receive any firearm or ammunition which has
20   been shipped or transported in interstate or foreign commerce.
21         9.    Defendant shall refrain from the use of alcohol, and the
22   use or possession of a narcotic drug and other controlled substances
23   defined in 21 U.S.C. § 802, unless prescribed by a licensed medical
24   practitioner. There shall be no alcohol in the home where Defendant
25   is residing. Within two days of Defendant’s release, an appointment
26   must be made for a substance abuse evaluation, to take place within
27   two weeks of Defendant’s release.               Defendant must complete any
28   substance abuse treatment recommended by the evaluation and by


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 1   Pretrial Services and shall comply with all of the rules of the
 2   treatment program.         If Defendant fails in any way to comply or
 3   cooperate with the requirements and rules of the treatment program,
 4   Pretrial Services shall notify the court and the U.S. Marshal, who
 5   will be directed to immediately arrest the Defendant. The United
 6   States Probation Office shall determine the time and place of
 7   testing and evaluation and the scope of treatment.                 Defendant shall
 8   be responsible for the cost of the treatment.               Full mutual releases
 9   shall    be    executed   to   permit    communication       between   the   court,
10   Pretrial Services, and the treatment vendor.                If random urinalysis
11   testing is not done through a treatment program, random urinalysis
12   testing shall be conducted through Pretrial Services, but shall not
13   exceed six (6) times per month.
14           10.    Defendant shall report to the United States Probation
15   Office before or immediately after his release and shall report as
16   often as they direct, at such times and in such manner as they
17   direct.       Defendant shall contact his attorney at least once a week.
18           11.    Defendant shall post a $10,000 appearance bond.
19           12.    Defendant shall have no contact, direct or indirect, with
20   Co-Defendants in this matter.
21           Defendant is advised a violation of any of the foregoing
22   conditions of release may result in the immediate issuance of an
23   arrest warrant, revocation of release and prosecution for contempt
24   of court, which could result in imprisonment, a fine, or both.
25   Specifically, Defendant is advised a separate offense is established
26   by the knowing failure to appear and an additional sentence may be
27   imposed for the commission of a crime while on this release.                      In
28   this     regard,    any   sentence      imposed    for     these   violations     is


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 1   consecutive to any other sentence imposed.
 2         DATED September 24, 2007.
 3
 4                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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